

People v Alexis M. (2025 NY Slip Op 01233)





People v Alexis M.


2025 NY Slip Op 01233


Decided on March 5, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 5, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

FRANCESCA E. CONNOLLY, J.P.
PAUL WOOTEN
WILLIAM G. FORD
JANICE A. TAYLOR
JAMES P. MCCORMACK, JJ.


2022-06609
 (Ind. No. 72489/21)

[*1]The People of the State of New York, respondent,
vAlexis M. (Anonymous), appellant.


Patricia Pazner, New York, NY (Rebekah J. Pazmiño of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Jean M. Joyce of counsel; Rebecca Siegel on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Craig S. Walker, J.), imposed August 3, 2022, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
CONNOLLY, J.P., WOOTEN, FORD, TAYLOR and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








